                                                                                           EXHIBIT A



                    IN RE: FOGO DE CHAO WAGE LITIGATION
                      DECLARATION OF BRUNO BALASSIANO
      1.     My name is Bruno Balassiano.
      2.     I make this declaration based on my personal knowledge. I am over the age of 18
             years and competent to testify to the matters contained within this declaration.
      3.     I worked for Fogo De Chao (“Fogo”) from approximately October 2015, through
             March 2018.
      4.     Fogo is a Brazilian churrascaria style restaurant with locations all over the world,
             including Florida.
      5.     During this time, I worked for Fogo at its Orlando, Florida location on
             International Drive.
JOB DUTIES
      6.     My official position was carver, however, I was asked to fulfill many roles,
             including server, bartender, butcher, cook and dishwasher.
      7.     As a server, I was primarily responsible for serving and assisting guests.
      8.     Fogo required that its carvers prepare meat, including butchering, like chefs in a
             kitchen.
      9.     Fogo required its carvers to season meats, place them on skewers, and load them
             into the rotisserie ovens.
      10.    Many times, a carver could take two to three (2-3) hours preparing meats in a six
             (6) hour shift.
      11.    In my observation, carvers would spend anywhere between forty (40) to fifty (50)
             percent of their entire work shift preparing the meats to be served, rather than
             being out on the floor interacting with customers. Oftentimes, I wouldn’t even
             see some of the carvers during my shift on the floor because they would be in the
             kitchen preparing meets exclusively.
HOURS WORKED
      12.    I was typically scheduled to work six (6) days per week on average from 10:00
             a.m. until 2:00 pm, and then return at 4:00 pm to 12:00 a.m.
      13.    I typically worked an average of thirty-seven (37) hours per week.
PAY
      14.    Fogo paid me an hourly rate of approximately $5.25 per hour pursuant to the “tip
             credit.” Fogo still paid me at the server rate of $5.25 per hour for all of the hours
           when I prepared and cooked meats in the kitchen even though I did not perform
           any customer service job duties.
     15.   I earned tips in addition to my hourly wage paid by Fogo.
TIP POOL
     16.   Fogo required its servers, bartenders, carvers and bussers to participate in a tip
           pool.
     17.   In addition, Fogo included an employee in the tip pool whose title was “Customer
           Service Representative (“CSR”).
     18.   The CSR was not paid pursuant to the tip credit (less than minimum wage).
     19.   The CSR was paid an hourly wage between $12 and $14 per hour plus cash tips.
     20.   The CSR primarily had managerial job duties. For example, the CSR determined
           when the servers were released from work at the end of the shift.
     21.   The CSR could also change servers’ sections.
     22.   The CSR used the manager’s card to swipe into the computer to make managerial
           changes.
     23.   The CSR hardly if ever, served any tables absent extra ordinary necessity such as
           being understaffed or the restaurant was overly crowded.
     24.   Lastly, the CSR wore a uniform similar to a manager and not a server.
     25.   The CSRs would be part of the management meetings that would be held apart
           from full staff meetings. These meetings were held separately before the full staff
           meetings.
SIMILARLY SITUATED
     26.   All servers, bartenders and carvers were paid by the hour.
     27.   All servers, bartenders and carvers were paid less than minimum wage plus tips.
     28.   All servers, bartenders and carvers performed similar job duties based on their job
           titles.
     29.   In the last two years that I worked for Fogo there were at least 50-100 employees
           who were affected by Fogo’s pay policies just like me.
     30.   I am joining this lawsuit so that I can recover what is owed to me. I know that if
           other people get notice of this lawsuit, they will want to join as well.
     31.   I declare under penalty of perjury that the foregoing allegations contained within
           this declaration are true and correct.



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